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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                    Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN
  SAMEEH HAMMOUDEH
  GHASSAN ZAYED BALLUT
  HATIM NAJI FARIZ
  ____________________________________

                                            ORDER

         This cause came on for consideration upon Defendant Sameeh Taha Hammoudeh’s

  Motion for Mistrial (Dkt. #1443). The Motion subsequently was adopted by the other three

  Defendants. The Motion raises previous arguments for mistrial including references to

  events occurring before trial. The only new ground in the Motion relates to a newspaper poll

  that was not removed from the November 17, 2005 issue of the Tampa Tribune that was

  given to the jury. One of the jurors saw the poll and brought it to the attention of the Court

  Security Officer, who in turn brought it to the attention of the Court. The poll was thereafter

  removed and the paper was returned to the jury. Defendant Hammoudeh, in conclusory

  fashion, asserts this event results in the denial of a fair trial. The Court disagrees and denies

  the Motion.

         Each day, the jurors are given copies of two local newspapers, the Tampa Tribune and

  the St. Petersburg Times. Defense counsel, pursuant to a previous Order of this Court, has

  the responsibility to review the papers each morning and notify the Court which items they
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  would like removed. The Court removes those items identified by defense counsel and

  delivers the remainder of the papers to the jury room. This procedure was followed on the

  morning of November 17, 2005. However, defense counsel apparently overlooked the poll

  that is now in question and did not ask for it to be removed. It is understandable why defense

  counsel missed the poll - - it appeared in a small (less than two inches square) “box-like” area

  at the bottom of page 15 of the “Nation/World” section of the Tampa Tribune, and appears

  (in actual size) as follows:




         The Court did not at the time and does not now consider the exposure of the juror or

  jurors to this poll to have created unfair prejudice to the Defendants. The poll did not discuss

  any of the facts of the case or seek to influence how the reader should think about the case.

  Much like a sports poll, it merely asked those responding to predict the outcome of an event

  – how the jury would ultimately decide the guilt or innocence of Defendant Al-Arian.




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         On the morning of Tuesday, November 22, 2005, the Court had its Courtroom Deputy

  inform all counsel of the events surrounding the poll.1 Linda Moreno, counsel for Defendant

  Al-Arian, asked the Deputy if the Court intended to pursue the matter any further. The

  Deputy responded that the Court was not going to pursue the matter, but if any counsel

  thought it should be pursued, that counsel could file the appropriate motion.

         The Motion before the Court was filed the next day (November 23, 2005). Tellingly,

  it was filed by Defendant Hammoudeh, not Defendant Al-Arian. Defendant Hammoudeh

  is not mentioned in the poll. The other Defendants subsequently adopted Defendant

  Hammoudeh’s Motion.

         Although the Motion in question was filed on November 23, 2005, which happened

  to be the day before Thanksgiving, it did not come to the Court’s attention until Tuesday,

  November 29, 2005. After review of the Motion, the Court had the Courtroom Deputy

  contact counsel for all parties to see if any party wished to have the Court interview the juror

  in question, or the entire jury, or take any further investigative steps in this matter. All

  counsel responded in the negative.

         Because the Court determines the incident involving the newspaper poll would not

  influence or prejudice the jury, it concludes that no investigation is necessary. Additionally,

  as the Court has previously denied all other grounds raised by the Motion, the Motion will

  be denied.



         1
             The jury did not deliberate on Friday, November 18, 2005, through Sunday, November 20, 2005.

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           Therefore, Defendant Sameeh Taha Hammoudeh’s Motion for Mistrial (Dkt. #1443)

  is hereby DENIED.

           DONE and ORDERED in Tampa, Florida on November 30, 2005.




  Copies furnished to:
  Counsel/Parties of Record
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